IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MERRY REED, et al. :
Plaintiffs, : CIVIL ACTION

v.
No. 19-3110
ARRAIGNMENT COURT MAGISTRATE
JUDGE FRANCIS BERNARD, et al.,

Hon. Harvey Bartle, ITI
Defendants

Order

AND NOW this day of 2019, upon consideration
of the Motion to Dismiss the Complaint by Defendants Arraignment Court
Magistrate Judges Francis Bernard, Sheila Bedford, Kevin Devlin, James O’Brien,
Jane Rice, and Robert Stack and President Judge Patrick Dugan, and Plaintiffs’
response, itis ORDERED that the Motion is GRANTED.

Plaintiffs Complaint is DISMISSED with prejudice as to Defendants
Arraignment Court Magistrate Judges Francis Bernard, Sheila Bedford, Kevin
Devlin, James O’Brien, Jane Rice, and Robert Stack and President Judge Patrick

Dugan.

By the Court:

 
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Plaintiffs, : CIVIL ACTION

Vv.

No. 19-3110
ARRAIGNMENT COURT MAGISTRATE

JUDGE FRANCIS BERNARD, et al.,

Hon. Harvey Bartle, III
Defendanis

Motion to Dismiss the Complaint on behalf of
Defendants Arraignment Court Magistrate Judges
Francis Bernard, Sheila Bedford, Kevin Devlin, James O’Brien,

Jane Rice, and Robert Stack and President Judge Patrick Dugan

Defendants Arraignment Court Magistrate Judges Francis Bernard, Sheila
Bedford, Kevin Devlin, James O’Brien, Jane Rice, and Robert Stack and President
Judge Patrick Dugan move to dismiss the Complaint pursuant to Fed. R. Civ. P.
12(b)(6) for the following reason, which is set forth in the accompanying Brief:

The Complaint does not state a First Amendment claim.
WHEREFORE, Moving Defendants respectfully request that this Honorable

Court dismiss the claims against them with prejudice.

Respectfully Submitted,

S/Michael Daley

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James O’Brien, Jane Rice, and Robert
Stack and President Judge Patrick
Dugan
IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MERRY REED, et al. :
Plaintiffs, : CIVIL ACTION

v.
No. 19-3110

ARRAIGNMENT COURT MAGISTRATE
JUDGE FRANCIS BERNARD, et al,

Hon. Harvey Bartle, III
Defendants

Brief in Support of Defendants Arraignment Court Magistrate
Judges Francis Bernard, Sheila Bedford, Kevin Devlin,
James O’Brien, Jane Rice, and Robert Stack and
President Judge Patrick Dugan’s Motion to Dismiss the Complaint
I, Statement of the Case
Before discussing what this case is about, it is important to note what it is
not about. It is not about the public’s access to court, or the press’ access. To the
contrary, arraignments in Philadelphia’s Municipal Court are open to the public
and the press. It is not about the press’ ability to report on arraignments. Indeed, as
Plaintiff the Bail Fund points out, it collects and disseminates information about
arraignments from information gathered from its courtroom volunteers. And
Plaintiff Mary Reed is a journalist who reports on bail and arraignments on a news
website.
Instead, this case is about Plaintiffs wanting this Court to create a First
Amendment right that courts have steadfastly held does not exist. To Plaintiffs, it

isn't enough that the public can witness arraignments. It isn’t enough that the press

can observe, take notes, and report on arraignments, Instead, they believe that the
First Amendment requires Municipal Court to allow them to make audio recordings
of bail hearings.

Unfortunately for Plaintiffs, settled, long-standing case law holds that the
First Amendment does not require a court to allow the public or press to make
audio recordings of court proceedings. Furthermore, courts have routinely upheld
provisions banning such recordings — including the ban on recording proceedings in
the federal courts.4

Pennsylvania’s rules on recording court proceedings.

Pennsylvania’s Rules of Criminal Procedure prohibit audio or video
recordings of any judicial proceeding by anyone other than an official court
stenographer. Pa.R.Crim.P. 112(C). Pennsylvania’s Rules of Judicial Administration
provide that judges should prohibit recording and photography (among other things)
in a courtroom and areas immediately surrounding a courtroom. Pa.R.J.A. 1910.

Consistent with these rules, Municipal Court has promulgated a local rule
stating that arraignment court magistrates shall prohibit recordings. See Phila.

M.C.R.Crim.P. 7.09.2

 

! See Fed.R.Crim.P. 53 (“Except as otherwise provided by a statute or these rules,
the court must not permit the taking of photographs in the courtroom during
judicial proceedings or the broadcasting of judicial proceedings from the
courtroom.”)

2 Municipal Court Criminal Rules are available at
https://www.courts.phila.gov/pdf/rules/MC-Criminal-Division-Compiled-Rules.pdf
(retrieved on September 4, 2019).
Thus, due to binding Pennsylvania law, Defendants cannot allow the public
or press to make audio recordings of arraignments.

Municipal Court arraignments.

There are six Arraignment Court Magistrates that preside over arraignments
in Municipal Court in the Criminal Justice Center, (Complaint {4 10, 15.)3 During
bail hearings, the defendants appear by an audio-visual connection. (Complaint
15.) Both the defendant and prosecution have an opportunity to argue what type of
bail should be set — released on own recognizance or monetary conditions, for
example — which is based on numerous factors, including the defendant’s criminal
history, the charges, ties to the community, mental condition, drug issues, a history
of flight or escape, and related matters that bear on whether a defendant will
appear for court. See Pa.R.Crim.P. 523(A).4

Consistent with Pennsylvania rules, there are no publically available
transcripts of the arraignments. The state Rules of Criminal Procedure require that
open court proceedings be recorded only after a defendant has been held for court.

Pa.R.Crim.P. 115(a); Pa.R.Crim.P. 1012 (providing that Rule 115 relating to

 

° One function of an arraignment is setting bail. See Pa.R.Crim.P. 1008(D). This
Brief will use “arraignment” and “bail hearing” interchangeably.

4 Prior to a bail hearing, the magistrate receives a Pretrial Services Report that
contains further information about the defendant. (Complaint 9 17.) Under

Pennsylvania rules, this Report is released only to the parties and the magistrate.
Pa.R.Crim.P. 5380(C).
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recording and transcribing are applicable to proceedings in Municipal Court a
preliminary arraignment).

The public may not bring cellphones into the Criminal Justice Center unless
they are contained in secure pouches. (Complaint § 29.) In addition to
arraignments, other criminal proceedings — including trials — are held in the
Criminal Justice Center.

Plaintiffs’ ability to report on arraignments.

Plaintiffs are able to attend bail hearings. Plaintiff Bail Watch sends
volunteers into bail hearings to observe and gather information, which it uses to
produce public reports to educate both the public and government officials.
(Complaint {{ 9, 46.)5 It uses social media posts and meets with stakeholders in the
arraignment system, using the information it collects through its access to court.
(Complaint {{ 9, 46.) Further, Plaintiff Merry Reed has attended various bail
hearings at the Criminal Justice Center to compile information for the publication,

The Declaration. (Complaint J] 42-43.)¢

 

* For example, the Bail Fund participated in producing a 41 page report on
arraignments in October 2018. See

https://staticl squarespace.com/static/591a4fd51b10e32fb50fbc7 3/t/5bc60034a4222F
8ed2231c54/1539702839376/Philly+Bailt+Report, Finalv2.pdf (retrieved on
September 3, 2019). It also issued a press release on cash bail in May 2019. See
https:/Avww.phillybailfund.org/da-report (retrieved on September 3, 2019).

6 The Complaint’s factual allegations are taken as true at this procedural stage.
Plaintiffs wish to use the audio recordings to supplement their reporting and
share them with the public — including embedding audio in their online reports and
Plaintiff Reed’s website. (Complaint 9 43, 50.)

Claims and requested relief.

Plaintiffs claim that Pa.R.Crim.P. 112(C), Pa.R.J.A. 1910, and Local Rule
7.09 are unconstitutional as applied to Plaintiffs because they prohibit them from
recording bail hearings in the Criminal Justice Center, in violation of the First
Amendment. (Complaint, Prayer for Relief.)7 Thus, that want a declaration that the
cited rules are unconstitutional as applied to them. (Complaint, Prayer for Relief.)
All Defendants are sued in their respective official capacities only.

II. Statement of Question

Does the Complaint fail to state a First Amendment claim because the public
and press have access to arraignments, and there is no First Amendment right to
record court proceedings?

Answer: Yes.

Ill. Argument

There is no First Amendment right to have electronic media in a courtroom to
record proceedings. This has been settled law for decades. Instead ofa
constitutional issue, courts have recognized that this is a policy issue that is a

choice for each judicial system.

 

7 Presumably, Plaintiffs are bringing their claim through 42 U.S.C. § 1988,
There is a First Amendment right for the public to access criminal tri
related proceedings. See Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 580
(1980). This right to access is “constitutionally satisfied when some members of both
the public and the media are able to ‘attend the trial and report what they have
observed.” United States v. Moussaoui, 205 F.R.D. 183, 185 (E.D. Va. 2002)(quoting
Nixon v. Warner Communications, Inc., 435 U.S. 589, 610 (1978)). Although the
media has a role in disseminating information to the public, the media’s right to
access is no greater than the public’s right. PG Pub. Co. v. Aichele, 705 F.3d 91, 99
(3d Cir. 2013)(citing Branzburg v. Hayes, 408 U.S. 665, 684 (1972), cert. denied, 569
U.S. 1018 (20138).

Municipal Court allows the public and press to attend arraignments and
report on them as they see fit. Hence, the right to access is not at issue here. _

What is at issue is Plaintiffs’ request to have this Court extend the First
Amendment beyond what other courts have uniformly held is not a right: to make
audio recordings of judicial proceedings.8 While the media has a right to attend and
report, courts have consistently held that the press (and public) has no right to
record or broadcast court proceedings. The Third Circuit long ago recognized that
courts may craft rules that limit the press’ access to information without violating

the First Amendment. See Tribune Review Pub. Co. v. Thomas, 254 F.2d 883, 885

 

® Plaintiffs assert that they are bringing an “as-applied” challenge to the rules.
Thus, they must show that the rules as applied to them in a particular

circumstances violated their constitutional rights. United States v. Marcavage, 609
F.3d 264, 273 (8d Cir. 2010).
(3d Cir. 1958)(holding that a Pennsylvania court rule prohibiting the taking of
photographs in and about the courthouse to be a valid exercise of judicial authority).

This court has also held that the First Amendment “does not guarantee the
right to record or broadcast live testimony or other trial proceedings” and is “not
violated by absolute bans on video cameras or still-picture cameras in courtrooms.”
Whiteland Woods v. Township of West Whiteland, 1997 WL 653906, at “5 (E.D,
Pa.1997)(collecting cases)(addressing the right to videotape township
meetings), aff'd, 193 F.3d 177 (8d Cir. 1999).

The Supreme Court has not directly ruled on this issue. It has, however,
indicated that the First Amendment does not guarantee a right to televise or
broadcast criminal trials. In Estes v. Texas, Justice Harlan, who cast the deciding
vote, stated in his concurrence that “[n]Jo constitutional provision guarantees a right
to televise trials.” 381 U.S. 532, 588 (1965). Justice Harlan recognized that although
credible policy arguments for televising trials could be made, such arguments were
not of constitutional proportions:

Once beyond the confines of the courthouse, a news-gathering agency

may publicize, within wide limits, what its representatives have heard

and seen in the courtroom. But the line is drawn at the courthouse

door; and within, a reporter's constitutional rights are no greater than

those of any other member of the public.

381 U.S. at 589. Justice Harlan's reasoning was later seconded by a Supreme Court

majority. See Nixon v. Warner Communications, Inc., 435 U.S. 589, 610-11
(1978)("In the first place, ... there is no constitutional righ

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to have [live witness]
testimony recorded and broadcast.”).9

In Chandler, the Supreme Court supported the Florida Supreme Court’s view
in quoting the state court’s holding that while the due process clause “does not
prohibit electronic media coverage of judicial proceedings per se, by the same token,
we reject the argument ... that the first and sixth amendments to the United
States Constitution mandate entry of the electronic media into judicial
proceedings.” Chandler vu. Florida, 449 U.S. 560, 569 (1981)(quoting Petition of Post-
Newsweek Stations, Florida, Inc., 370 So.2d 764, 774 (Fla. 1979)).

In addition to the Third Circuit, other circuit courts have held that there is no
First Amendment right to record or broadcast a proceeding. An often-cited case is
the Eleventh Circuit’s decision on whether news organizations have a First
Amendment right to record and broadcast federal criminal trials in United States v.
Hastings, 695 F.2d 1278 (11th Cir. 1983), cert. denied, 461 U.S. 931 (1983). The
challenge there was to Federal Rule of Criminal Procedure 53, which -- like
Pennsylvania’s rules — prohibits taking photographs and broadcasting courtroom
proceedings. The court relied on Supreme Court case law in holding that there is no

First Amendment right to record court proceedings. Id. at 1280-81 (analyzing

 

® Courts have examined the extent and weight of Justice Harlan’s concurrence as it
relates to what the Court’s majority held. See Chandler v. Florida, 449 U.S. 560,
574 (1981)(examining Justice Harlan’s concurrence and holding that there was no
inherent due process denial in allowing criminal proceedings to be televised and
that states could decide for themselves whether to allow broadcasting).
Supreme Court case law). Instead, the court concluded that Rule 53 was a valid
“time, place, and manner” restriction. Id. at 1283-84.

Other circuits are consistent in holding that there is no First Amendment
right to record court proceedings. See Conway v. United States, 852 F.2d 187, 188
(6th Cir. 1988)(holding that Rule 53 does not violate the First Amendment), cert.
denied, 488 U.S. 943 (1988); Radio & Television News Ass’n of S. California v. U.S.
Dist. Ct. for Cent. Dist. of California, 781 F.2d 1448, 1447 (9th Cir. 1986)(holding
that the media’s right to gather information is no more than a right to attend a
criminal trial and report on their observations); United States v. Edwards, 785 F.2d
1293, 1296 (5th Cir. 1986)(upholding Rule 53 and stating that there is no
“abridgement of the freedom of press” as long as the press can send representatives
to trials and report on them); United States v. Kerley, 753 F.2d 617, 622 (7th Cir.
1985)(upholding Rule 53); United States v. Yonkers Bd. of Educ., 747 F.2d 111, 1138-
14 (2d Cir. 1984)(holding that a local rule and associated court order prohibiting
plaintiff from using a tape recorder in the courtroom were constitutionally
permissible, stating that the First Amendment right of access is “limited to physical
presence at trials”); Combined Communications Corp. v. Finesilver, 672 F.2d 818,
821 (10th Cir. 1982)(upholding local rule banning recording devices); see also Rice v.
Kempker, 374 F.3d 675, 679 (8th Cir. 2004)(stating that “courts have universally
found that restrictions on videotaping and cameras do not implicate the First

Amendment guarantee of public access.”).
District courts have been as equally harmonious in holding that there is no
First Amendment right to record court proceedings, including Shavlik v. Snohomish
Co. Superior Court, 2019 WL 2616631, at *7 (W.D. Wash. 2019)(collecting cases and
holding that the media’s First Amendment right is limited to attending proceedings
and reporting their observations); United States v. Nabaya, 2017 WL 1424802, at *2
(E.D. Va. 2017)(upholding challenge to a local court rule that prohibited recording
devices at arraignment and pretrial hearings); McKay v. Federspeil, 22 F.Supp.3d
731, 736 (E.D. Mich. 2014)(upholding a state court electronics ban for a government
center that the plaintiff claimed violated his constitutional rights to record
proceedings and matters of public concern); Moussaoui, 205 F.R.D. at 185 (noting
that the Fifth, Sixth, Seventh and Eleventh Circuits have held that the First
Amendment “does not include a right to televise, record or otherwise broadcast
federal criminal trial proceeding”); and United States v. Hernandez, 2000 WL
36741162, at *2 (8.D. Fla. 2000)(holding that the First Amendment right is a “right
to attend, rather than a license allowing cameras or tape-recorders into the
courthouse|[.]”).

At bottom, courts are lockstep in holding that there is no First Amendment
right to record court proceedings.

The recording ban does not limit Plaintiffs’ right of access.

Courts generally hold that bans on electronic devices in the courtroom

constitute “time, place, and manner” restrictions. Whiteland Woods, L.P. v.

Township of W. Whiteland, 193 F.3d 177, 182 (3d Cir. 1999). The Third Circuit

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holds that the “critical question regarding a content-neutral res
place, or manner of access to a government proceeding is whether the restriction
meaningfully interferes with the public’s ability to inform itself of the proceeding:
that is, whether it limits the underlying right of access rather than regulating the
manner in which that access occurs.” Id. at 183.10

Here, Plaintiffs’ right of access is not meaningfully interfered with. First,
they are able to attend proceedings, take notes, and report on them. Indeed,
Plaintiffs highlight that they provide reports, engage in conversations with
government officials, publicize their observations and findings on social media, and
post reports on the internet. (Complaint { 9, 46.)

Second, there are alternative means to obtain information about bail
arraignments in addition to attending hearings. One is to access bail documents
that are filed with the court. In addition, Plaintiffs and the public may make data
report requests to the Administrative Office of Pennsylvania Courts, through which
they can obtain a compilation of data about every arraignment in Municipal Court

for a selected time period.11

 

10 The Rules at issue here are content-neutral.

‘1 The Unified Judicial System’s Electronic Public Access Policy is located at
http://www.pacourts.us/assets/files/page-1090/file-837.pdf (retrieved on September
4, 2019). As an example of data available, the undersigned has recently been
involved with a data request that contains over 45 data fields for Municipal Court
arraignments for an eight month period. Thus, there are other “comprehensive data
analyses” that Plaintiffs can obtain. (Complaint § 50.)

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The Complaint contends that access to audio records would allow Plaintiffs to
“create a more complete” record for their reporting, and they could insert audio clips
into their web-based reporting. (Complaint 4 43.) Plaintiffs claim that the recording
ban “deprives the broader public” of a “vital source of information” so that the public
must instead rely on the media to report what goes on. (Complaint | 41.)

These policy arguments are just that: policy arguments. They do not create a
First Amendment right to record proceedings. Pennsylvania has made a policy
decision to not allow courtroom proceedings to be recorded. Plaintiffs’ arguments
are better directed to the state rules committee, which has the authority to make
recommended changes to the procedural rules to the Supreme Court of
Pennsylvania.

The Complaint’s claim that recording must be allowed because not everyone
can attend proceedings does not make recording constitutionally mandated. Indeed,
the Moussaoui court noted that “the inability of every interested person to attend
the trial in person or observe it through the surrogate of the media does not raise a
question of constitutional proportion,” but rather raises a “question of social and
political policy best left to the United States Congress and the Judicial Conference
of the United States.” Moussaout, 205 F.R.D. at 186.

To the extent that Plaintiffs contend that audio records are mandated to
provide a further check on the judicial process, Justice Harlan noted that “it is

impossible to believe that the reliability of a trial as a method of finding facts and

determining guilt or innocence increases in relation to the size of the crowd

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watching it.” Estes, 381 U.S. at 595 (Harlan, J., concurring). Instead, the “presence
of interested spectators, attorneys, jurors and a judge” satisfies the safeguards of a
public trial and the integrity of those proceedings. Moussaoui, 205 F.R.D. at 186.

All in all, that Plaintiffs cannot use audio clips to insert into their reports or
an online article does not meaningfully restrict their access to court. Plaintiff have
been able to report extensively about arraignments, and there are additional
resources available to buttress their reporting.

Potential prejudice to the system and defendants.

Bail hearings often contain prejudicial evidence that would be inadmissible
during a trial and, therefore, courts “should show heightened concern about the
threat that the public dissemination of such inadmissible evidence would have on
the accused right to a fair trial.” In re Globe Newspaper Co., 729 F.2d 47, 59 (1st
Cir. 1984). Indeed, the First Circuit notes that a defendant’s “privacy and fair trial
interests” are at their “zenith during the bail hearings, since they have not yet had
an opportunity to test the material admitted at the hearings.” Id.

The Supreme Court has recognized that “adverse publicity can endanger” a
defendant's ability to receive a fair trial. Gannett Co., Inc. v. DePasquale, 443 U.S.

368, 378 (1979). For that reason, courts have an “affirmative constitutional duty to

minimize the effects of prejudicial pretrial publicity.” Id.12

 

12 The Gannett case involved a criminal case where the trial court prohibited the
public and press from attending a suppression hearing, which the Supreme Court

held was permissible due to the particular circumstances in that case. Gannett Co.,
ine., 443 U.S. at 394.

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In the instant case, there are many factors that go into a bail decision that
could have prejudicial effects on a defendant’s right to obtain a fair trial, These
include the defendant’s criminal history, drug abuse issues, mental condition, and a
history of flight or escape. See Pa.R.Crim.P. 523(A).

To allow audio recordings, which would include a defendant’s own words,
about these matters would endanger a defendant’s right to a fair trial. A person
could post audio of a defendant admitting to prior criminal acts, drug abuse, escape,
and other matters that would not be admissible at trial, thereby prejudicing their
right to a fair trial. Indeed, a defendant may inadvertently discuss the crimes that
they are charged with. In addition, the court may order a defendant to stay away
from a victim or witnesses, information that could potentially endanger those
persons. While the media can report all this information now by observing the
proceedings, limiting it to reporting as opposed to allowing rebroadcasting audio
recordings is a safeguard that mitigates against potential prejudice.

What is more, although Plaintiffs point out that recordings can be made with
silent handheld devices, whether recordings are physically less intrusive does not
alter these potential prejudices. Moreover, a defendant or their counsel may be
unwilling to discuss mental health, drug-related issues, and other relevant bail

factors if they know that the media may rebroadcast their statements, which could

impact the bail decision.

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Simply put, whether the recordings can be made is “less disruptive” ways is
irrelevant: there is no First Amendment right to record to begin with. See McKay,
22 F.Supp.3d at 736.

Plaintiffs may argue that these concerns are overblown and that their
interest in going beyond access to make recordings so that they can replay hearings
and post audio clips outweighs any potential prejudice. Setting aside that balancing
test, that is not the issue here. Courts have not extended the First Amendment to
require that the public or media be allowed to make audio recordings. The question,
instead, is left to each court and judicial system as a policy matter — as the Supreme

Court in Chandler recognized.

In sum, there is no Frist Amendment right to record courtroom proceedings

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IV. Conclusion

Moving Defendants respectfully request that this Honorable Court evant
their Motion and dismiss the claims against them with prejudice. Given the legal
defenses, it would be futile to allow Plaintiffs leave to amend the Complaint. See
Miklavie v. USAir, Inc., 21 F.8d 551, 557-58 (3d Cir. 1994); Shane v. Fauver, 213

F.3d 118, 115 (@d Cir. 2000).

Respectfully Submitted,

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Certificate of Service
The undersigned certifies that on September 4, 2019, he caused the foregoing

Motion to Dismiss and Brief in Support via CM/ECF to all counsel of record

isi Michael Daley

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